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Subject: Jackson Patton (Case No. 2:20-cr-00182-DBB


Dear Honorable Judge Barlow,
My name is Annamarie Borgione, I am 66 years old and live in Salt Lake City, Utah. I am
writing you today to ask for the speedy release of Jackson Stuart Tamowski Patton from Weber
County Jail. Jackson is not a flight risk, nor a threat to the community. He has already been in
jail for an entire year while awaiting trial. Please do not continue to hold him while he awaits
sentencing.
Jackson’s release is important to me because I have known his mother and father, Susan and
Thomas for over 40 years, and their sons, Ross and Jackson since their birth. This is a good
family. Jackson is a good person who made a mistake. He does not deserve to continue to be
held in jail.
Please, I hope you will show compassion towards him and his family at the next hearing.
Thank you for your consideration on this matter.
Respectfully
Annamarie Borgione
Citizen of Utah, Taxpayer, Voter
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Your Honor;

We are writing to you on behalf of Mr. Jackson Tamowski Patton. Please allow us to introduce ourselves.

Our names are Ludmila and Jiri George Grygar. We came to USA as refugees from the former
Czechoslovakia in Eastern Europe at the end of 1982 to give our children a chance to grow up in a free
country, to have opportunities based on their effort, hard work and contribution to the society.

We met the family of Mr. and Mrs. Tamowski Patton as our neighbors in approximately 1985, when
Jackson was a small baby. Our daughter was on occasions his babysitter, and we became quite close
with the whole family. We watched him to grow up until his family moved for his father’s job to
Montana, then Colorado and later Nevada. Even then we all made sure to keep in touch and to meet for
camping trips and other activities. Jackson and his brother were just like our kids, healthy, active and
supportive of each other.

Although we knew Jackson was a sensitive and compassionate young man, we were surprised to hear he
was participating in the protest events of last May in Salt Lake City. We do believe in one’s right to
express opinion about a certain event, however this must be done without violence and destruction. It
might be easy to get caught up in a moment, especially if you feel strongly about the cause of the issue.
However, it is important to understand your actions will have consequences. Watching Jackson during
the Zoom meeting about his plea, we saw how much he matured in the last several months. We do
believe he learned his lesson.

Jackson comes from a kind, educated and hard working professional family. As parents of three young
people, we cannot begin to imagine the pain Mr. and Mrs. Tamowski Patton are going through at this
time. That is why we kindly ask for your compassion and understanding in considering his release prior
to his sentencing. We believe Jackson does not represent a threat to the society and his parents will
provide him with a stable background and help him to complete all the steps needed to satisfy all
conditions for such release.

We sincerely thank you for your time,

Ludmila and Jiri George Grygar
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To whom it may concern,

I am Jackson’s older brother, Ross. I am 8 years older than him which means that I very clearly
remember meeting him in the hospital room a few hours after he was born. I can tell you that
from the bottom of my heart I believe that we had an amazing upbringing -- food on the plate
every night, warm house, ski racing, lacrosse, soccer, camping, traveling etc…

However, I will tell you that Jackson is not a perfect human being, neither am I, nor are any of
us. He’s made his poor decisions and mistakes. Jackson has no violence in his past, a minimal
criminal record, and is a kind human being. He is not the person he has been portrayed to be
during this whole ordeal. It is my honest opinion that he is no threat to society and will be a
contributing member of the community upon his release. I truly believe that he’s going to get a
great job, or complete college, or both as soon as he can. I think we should get him out of the
system and back on his feet and he’s going to impress all of us with his achievements and
accomplishments.

Sincerely,

Ross Patton
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Dear Judge Barlow,
I am writing to you concerning the case of Jackson Patton. I have known Jackson his whole life and have
been close friends with his family for almost 40 years. The Jackson Patton I know is not a violent person,
he is kind and caring. My son and Jackson have spent time over the years skateboarding, snowboarding,
camping and hanging out together. Jackson has always been considerate and polite around my family. I
am not trying to say that he is perfect or that he didn’t make a poor choice but I think he has served his
time. Please consider releasing Jackson so that he and his family can heal and move on.

Thanks,
Linda Beecher
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Dear Judge Barlow,

My son, Jackson Patton, is a peaceful, loving, intelligent, personable, helpful person who has never been
violent. He has lived in Salt Lake most of his life, all of his friends live here, and he loves living in Salt
Lake. He is welcome to live in our home for as long as he needs to and until he can get back on his feet
and find a place of his own. It is a pleasure having him live here.

Jackson was born in Salt Lake City into our welcoming family of my husband Tom, me and our then eight
year old son, Ross. Jackson has always been loved, had a very stable family life, and had a very happy
childhood with lots of opportunities to make friends, ski, skateboard, play soccer, baseball, and lacrosse,
take music lessons, including at the School of Rock, join the Boy Scouts, go camping and travelling.

When Jackson was one year old our family followed my husband’s career in ski area management to Red
Lodge, Montana; to Nederland, Colorado; and to Minden, Nevada. With each move I was able to secure
a job in my field of biology research which meant that Jackson was in day care, preschool, and grade
school after school programs. Jackson always made friends easily and participated in all activities. All of
Jackson’s various caregivers and teachers loved him and often told us of Jackson’s superior intelligence
and recommended advanced learning programs for him.

When Jackson was almost twelve I was offered the job of Director of the University of Utah Transgenic &
Gene Targeting Core which we happily took and which gave us the opportunity to return to Salt Lake
City where we had many friends and family who we had been keeping in touch with throughout our
travels. Jackson went to Churchill Junior High School where he easily made friends, some of whom are
still his good friends to this day. Jackson went on to go to Skyline High School with its overcrowded,
sometimes 50 plus class size, which was not a good learning environment for Jackson. When his
counselor suggested that Granite Peaks High School might be a better fit, with its small class size and
alternative learning environment, and lots of one on one interaction with his teachers, Jackson thrived,
and in fact is still in touch with a couple of his teachers from there.

Since high school Jackson has taken some classes at the Salt Lake Community College which he intends
to continue with a more focused approach. He has about 1.5 years completed and plans to complete his
degree in short order. He has worked at various jobs, mostly as a Snowmaker and Groomer at Snowbird
in the winters, as a tree-cutter/trimmer, or as a landscaper/sprinkler system expert and installer at a
local landscaping company in the summers. All of his bosses who I have talked to over the years
complement him on his hard work, great attitude, and ability to learn quickly and would be happy to
rehire him.

One of Jackson’s faults is that he has not been motivated to finish college and even to finish some
individual classes. He sometimes doesn’t finish what he starts. His motivation to work and his incentive
to keep a job has been so that he can afford to live in an apartment and not at home.

In February 2020 Jackson had an epiphany with his life and asked to move back home to get his life
together. He was working on getting another job, getting back his driver’s license, registering for SLCC,
figuring out his bank account, and moving forward with his life. In May of 2020 he started to lose sight
of his future, got distracted, and was spending less and less time at home. This is when he got arrested
and has been in jail ever since. I know that Jackson has the strength to turn his life around, to finish
college, and to get a job so that he can move into an apartment and buy a car. Meanwhile he can live in
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our home where we can help him stay on track. Being arrested and on top of that spending over a year
in jail is motivation for him to finish his degree and get and keep a job.

Jackson has always been an advocate for causes that he believes in. He has been going to various rallies
and protests for clean air, Bears Ears, women’s rights, political candidates, and now BLM, with and
without me since he was a teenager. I have no doubt that the only reason that he attended the BLM
protest on May 30th was to support his friends and to be part of the movement to change how police
abuse and kill people. Unfortunately, when the protest got violent, Jackson was sucked into the energy
of the crowd mentality and, urged on by the roaring crowd, did something stupid when he shoved that
burning sheet further under the already burning, upside down, abandoned police car. He did not attend
the rally with any previous plans to do what he did, evidenced by the fact that he took nothing with him.
He did not go there with the intention of being violent. He went there for a cause that he truly believes
in. Jackson is not one to destroy property and is not violent. This is not normal behavior for him. I am
sure that the fact that he was caught doing something very stupid is more than enough motivation to
never do this sort of thing again.

Jackson has been making the best of his time in jail—as best he can to better himself. He has been
avidly reading, has been writing stories as well as poetry (one very sad one about his good friend who
died in an avalanche while Jackson was in prison), he has been working out routinely, pushing himself,
and has a record of 800 pushups in one day.

He is planning to continue with his college education as well as work a full time job. I expect that
Jackson will find a job in his areas of expertise as a landscaper/sprinkler system expert or tree-cutter in
the summer and as a snowmaker/groomer this winter until he can finish his college degree and go into a
profession. His former bosses have expressed to me that they would love to have Jackson return to
work because he is known as a hard-working, quick learning employee.

Jackson is a good person, friendly, personable, very intelligent, nice to be around, and works hard at any
job he has had. He is a good communicator and my friends always say how enjoyable he is to talk to and
have discussions with.

I am confident that Jackson has the will and the strength to turn his life around and will be a
contributing member of society in any field that he chooses.

Thank you for your consideration in Jackson’s case.

Sincerely,

Susan Tamowski
4434 Park Hill Drive
801-641-2171
rossjack@comcast.net
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Dear Judge Barlow,

My name is Nicholas Harward, and I am writing you regarding the criminal case against Jackson Stuart
Tamowski Patton.

Jackson has been one of my best friends for close to 15 years now, and I could honestly say I know him
better than near anybody, save for family. I can guarantee he is not a danger to society, and more
specifically Salt Lake and Utah. If you were to look in his closet you would see the plethora of Salt Lake
related apparel and you could ask anyone who knows him how much he loves this city.

He has one of the most positive and influential people in my life, and I view him as a brother. There isn’t
anything he values more than his friends and family and his community. His actions were very much out
of passion and being caught up in the moment.

His release would not only be beneficial for him, but for his friends, family, community, and myself as
well. I very much hope you take regard in the words I have said about him.

Sincerely,
Nicholas Harward
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August 2, 2021

United States District Court/ District of Utah
351 SW Temple
Salt Lake City, UT 84101

ATTN: The Honorable Judge David B. Barlow

SUBJ: Case No. 2:20-cr-182 United States v. Jackson Stuart Tamowski Patton, Sentencing—
Letter in Support of Defendant

Dear Judge Barlow:
        Jackson is my nephew. His dad is my next-up older brother (we are seven siblings all
told), and I have known Jackson since he was a quiet, thoughtful little guy with a lively mind and
a big heart. He is still a quiet, thoughtful guy with a lively mind and a big heart.
        I am proud of Jackson, not because he screwed up—though many of us screw up—but
because he has admitted he was in the wrong, which is entirely in character for him. You have
seen evidence of one vignette from a young man’s life, but that vignette is not a fair
representation of the defendant before you. If you want to know Jackson’s history, he’s the guy
who did not sit quietly in school when teachers turned a blind eye to the bullies working their
vile harm on the new kid. He’s the guy who speaks up and stands up. He is principled and
courageous, and in that spirit, he would be the first to tell you that his actions were wrong and
he has learned from his error.
        That’s the kind of guy he is. When faced with pre-trail incarceration far longer than the
law normally allows, and far longer than any co-defendant faced, Jackson did not, to quote the
poem, wince nor cry aloud. He sucked it up and behaved himself under circumstances that
would have tried my sanity.
        When hearing after hearing did not go his way, he sucked it up again, heeded the advice
of his counsel, and behaved himself in lock up.
        When he fell ill with COVID, after specifically requesting home detention to minimize
the risk of that harm, and he watched a fellow inmate die of the same disease—literally
watched the man die—Jackson still held it together, and comported himself with as much
dignity as incarceration allows.
        What has he been doing with these fifteen months behind bars? Reading voraciously,
politely answering the emails from his aunties, cousins, brother, and friends—and missing the
family who loves him dearly.
        Please let him go home, Judge. Incarceration has served its purpose, and Jackson has
served enough time.

Respectfully,


Patricia A. Patton, JD, MA
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June 24, 2021
Judge David Barlow
Re: Jackson Patton
I am Jackson’s Uncle and am honored to write a reference letter on his behalf. I have been
around Jackson all his life. I have always found Jackson to be a kind and gentle soul. Jackson is
not a fighter, nor does he have a bad temper. He is soft-spoken with a very amicable
character. Jackson is good company and pleasant to be around. He is always willing to help
whenever anybody is in need. Jackson is likeable and hard working.
Even when we lived in different cities, I was able to visit the family often. I always liked that he
would make a point of touching base with me.
We often have gone hiking or camping and have taken family vacations together. When we
hiked Mt Kilimanjaro, Jackson was able to talk and relate to the guides and support team.
When canoeing in Northern Ontario, he would volunteer to take the extra lap on the portages
so others could rest. Jackson is not only helpful around family, but because I have spoken to
his bosses and coworkers over the years, I know him to be an extremely hard worker. I know
that in the winter he normally drives expensive snow grooming equipment. He is so good at
this; he even got a scholarship to go and train in another state.
Jackson has always had a strong character. Not strong like “type A personality”, but strong
convictions. It is that trait that gives him the strength not to smoke pot, cigarettes or do drugs.
Over the years, Jackson often chooses not to drink when offered. It is ironic that he got a DUI.
This independence probably influenced his decision to get tattooed. Having tattoos does not
make him a dirtbag. Jackson is an exceptional person who comes from a very educated, stable
and hardworking family. This is also his personality. I have never questioned if Jackson would
become a productive member of society. It is a given.
In jail, Jackson has read a lot and is even doing some writing and a lot of exercising. There are a
few writers in his family. He is trying to make the best out of a terrible situation. Jackson is an
intelligent and caring person. Even this year in jail will not change that. Jackson will survive
this. Unfortunately, with a felony conviction he will have to run against the wind the rest of his
life. I am sure medical and law school are now out of the question.
Jacksons thank you for your consideration.
DAVID G TAMOWSKI
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 To Whom it May Concern,

 I am writing this as a character letter for Jackson Patton.
 I have known Jackson since he was in 7th grade. He is a friend of my son and I really got to
 know him as they grew up together. He was always polite, kind and helpful. I watched him grow
 up to be a passionate, smart and hard working young man with a bright future ahead of him.
 Please give this young man a chance .

 Warmly,
 Susan Dahlstrom
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 To the Honorable Judge David Barlow,

 I am Tom Patton; Jackson Patton’s father and I write today to tell you a bit about our family and
 Jackson’s family history. I am a recently retired Ski Resort operations director with 27 of my 40+ years in
 the business working at Snowbird in Utah from which I retired in August 2020. Both of my sons also
 worked in the resort business. Ross was a terrain park manager at Kirkwood Resort for 9 years and
 Jackson drove snowcats for several seasons. My father was a Biochemistry professor. Three of my
 siblings are also doctorate holding professors. One of my other siblings is a lawyer who was in criminal
 defense for a few years before she moved to specializing in serving as Guardian Ad Litem for children
 who become wards of the State of Maryland. My wife Susan Tamowski is a microbiologist having just
 retired this past May from the University of Utah Human Genetic department where she worked under
 Noble prize laureate Mario. Capecchi. Susan was on the team that did much of the work for which Dr.
 Capecchi was awarded the prize.

 Although Jackson was identified as gifted and talented in the first grade and therefore moved into
 education tracks that are designed to assist such students he often struggled in school. Mostly it was
 thought that he was not challenged as despite his struggles he had 12th grade reading acumen by the 5th
 grade. Eventually we were able to get Jackson enrolled into Granite Peaks high School, an alternative
 school for students like Jackson who did not fit in more traditional systems. Jackson thrived at Granite
 Peaks, and we always got really positive reports on him at parent/teacher conferences.

  Jackson is a bright young man who has had some challenges in finding his way but he is a deep and
 critical thinker. In addition, while Jackson has made some mistakes and errors in judgement, I am
 positive that he has learned from what he has gone through since his arrest on May 30th 2020. I would
 not in fact be willing to serve as one of Jackson’s sponsors/supervisors once he is released to live in my
 house again if I were not sure of his intent and ability to move forward with no further illegal behavior.
 Academics are a high priority in our family as is a sound work ethic. Susan and I have both the time and
 the resources to assist Jackson in getting back on track to restart an education to become a valuable
 member of society. In addition, I have many connections to assist Jackson is securing employment. The
 bottom line is that when Jackson is released, he will go into a solid and supportive environment.



 Sincerely,



 Tom Patton
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 My name is Valkyrie Galli, I am a dear friend and ex-girlfriend of Jackson. I am writing this letter to show
 my support for Jackson Stuart Tamwoski Patton, I have known Jackson for almost 7 years now, not only
 did we date for about 3 years but Jackson before and after our relationship has always been my best
 friend. He is one of the kindest most selfless and supportive people I have had the pleasure of getting to
 know and have in my life. Jackson is such a light and fills the room with laughter and love everywhere he
 goes. He is a positive and extremely hardworking person. Jackson means the world to me and everybody
 that knows him. We miss him and want him home. Jackson has a family and a circle of support that will
 help him continue on with his success in life when he comes home. Please do all you can to ensure that
 Jackson is released soon.

 Thank you,
 Valkyrie Galli
